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                       EXHIBIT E
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Stein, Micah D.

From:                               Nemelka, Michael N. <mnemelka@kellogghansen.com>
Sent:                               Thursday, December 06, 2018 6:05 PM
To:                                 Aundrea K Gulley
Cc:                                 SERVICE-EXTERNAL-DMS-MDL; Miller, Britt M.; ReynoldsTeam (gibbsbruns.com)
Subject:                            Re: In re DMS MDL: January 2019 Depositions


**EXTERNAL SENDER**


Dear Andi and Britt,

It is unreasonable to identify former employees of Authenticom on Tuesday and impose a deadline of two days later
(today) for confirmation whether Kellogg Hansen will represent them. We will let you know promptly regarding Travis
Robinson, Steve Dolezel, and Russell Gentry.

With respect to The Presidio Group, you may not be aware that William Lamm no longer works there. He is now at
Presidio Technology Partners (PTP). We assume that it is Mr. Lamm you are interested in, but please let us know. If it is,
then we can confirm we will represent PTP. If it is The Presidio Group you are after, we are not representing them.

Thanks,
Mike

On Dec 4, 2018, at 11:06 AM, Aundrea K Gulley <agulley@gibbsbruns.com> wrote:

          Counsel,

          Thank you for confirming Mr. Brockman’s deposition for January 16th and 17th. We can now confirm Mr.
          Whitworth for January 18. We also appreciate you providing a date for Mr. Kirby’s deposition, though
          we note, again, that the date was provided over a month after Defendants requested one and for a date
          six and a half weeks after the date originally requested. Neither is in compliance with the Deposition
          Protocol entered by the Court and Defendants reserve their rights. In any event, we will accept that
          date in order to keep this process moving.

          We are working on your requests for Defendants’ witnesses for January and expect to be back to you
          within the time allotted by the Deposition Protocol.

          As to your request that Defendants identify the Plaintiff witnesses they would like to depose in January,
          our ability to meaningfully proceed with depositions is being materially impacted by the deficiencies in a
          number of Plaintiffs’ document productions (see, e.g., 11/28/18 Letter from A. Marovitz re: Cox
          production; 12/3/18 Letter from L. Caseria re: MVSC production)—as highlighted in the depositions
          taken to date. Nonetheless, reserving all of their rights, Defendants request the following:

                 Paul Whitworth (Cox) – holdover from December – January 18 (Atlanta) – CONFIRMED
                 Alex Eckelberry (AutoLoop) – January 23
                 Napa Bulusu (MVSC) – January 25
                 Chris Kirby (Authenticom) – holdover from December – January 30 (Detroit) - CONFIRMED.



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Per the Protocol, please let us know no later than December 11 whether the dates for Mssrs. Eckelberry
and Bulusu are acceptable to Plaintiffs or, if not, what other dates (within 14 days of the requested date)
are available.

In addition to the above witnesses, Defendants intend to take a 30(b)(6) deposition of Continental
Motors* in late January (preferably January 29). Defendants will issue the topics for the notice no later
than early next week so that Plaintiffs can identify the witness and confirm availability.

Finally, for purposes of subpoenas to the following third parties, please let us know by close of business
on Thursday, December 6, if they are represented by Kellogg (or other Plaintiff’s counsel):

    1.   The Presidio Group
    2.   Travis Robinson
    3.   Steve Dolezel
    4.   Russel Gentry

Regards – Andi and Britt

* Continental Motors, we understand, includes the following affiliated entities: ACA Motors, Inc. d/b/a
Continental Acura; Continental Autos, Inc. d/b/a Continental Toyota; Continental Classic Motors, Inc.
d/b/a Continental Autosports; 5800 Countryside, LLC d/b/a Continental Mitsubishi; HDA Motors, Inc.
d/b/a Continental Honda; H & H Continental Motors, Inc. d/b/a Continental Nissan; Naperville Zoom
Cars, Inc. d/b/a Continental Mazda; and NV Autos, Inc. d/b/a Continental Audi.



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